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                    UNITED STATES COURT OF APPEALS                          FILED
                            FOR THE NINTH CIRCUIT                           MAR 31 2025
                                                                         MOLLY C. DWYER, CLERK
                                                                          U.S. COURT OF APPEALS
EMILY SHILLING; et al.,                          No. 25-2039
                                                 D.C. No.
             Plaintiffs - Appellees,             2:25-cv-00241-BHS
                                                 Western District of Washington,
 v.                                              Seattle
DONALD J. TRUMP, in his official                 ORDER
capacity as President of the United States; et
al.,

             Defendants - Appellants.

Before: TASHIMA, OWENS, and DESAI, Circuit Judges.

      The court has received the emergency motion to stay. The request for an

administrative stay is denied. See Doe #1 v. Trump, 944 F.3d 1222, 1223 (9th Cir.

2019). The existing schedule for the response and the reply remains in effect. See

Fed. R. App. P. 27(a).
